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                            Exhibit 16
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                                                                                                                                                 EXHIBIT

    Cox Communications Policies
                                                                                            Cox Policies
    Cox Communications policies regarding our services and business
    practices.                                                                              Site Policies
                                                                                             Online Privacy
                                                                                             Policy
    Cox® High Speed Internet Acceptable Use Policy
                                                                                             Visitor Agreement
     Introduction
                                                                                             Cox Forums Terms
    Updated 05/19/15
                                                                                             & Conditions
    CoxCom, LLC and its affiliates and/or distribution partners (collectively               Residential
    "Cox") are pleased that you have chosen Cox* High Speed Internet”                       Customers
    service (the "Service"). Our goal is to provide you and our other
    subscribers with an enriched, high quality Internet experience. This                     Annual Privacy
                                                                                             Notice
    Acceptable Use Policy (the "AUP") has been designed to protect our
    Service, our subscribers, and the Internet community from inappropriate.                 Annual Customer
    Illegal or otherwise objectionable activities. Please read this policy prior to          Notices
    accessing the Service. All users of the Service must abide by this AUP.
    Violation of any term of this AUP may result in the immediate suspension                 Terms and
                                                                                             Conditions
    or termination of either your access to the Service and/or your Cox
    account. This AUP should be read in conjunction with the Cox High Speed                  Credit Report
    Internet Subscriber Agreement, Privacy Policies, and other applicable                    Notice
    policies.
                                                                                             Price Lock
    By using the Service, you agree to abide by, and require others using the                Guarantee
    Service via your account to abide by the terms of this AUP. The AUP will                 Agreement
    be updated from time to time, so you should consult this document
    regularly to ensure that your activities conform to the most recent version.             Service Protection
    IF YOU DO NOT AGREE TO BE BOUND BY THESE TERMS, YOU                                      Plan Terms &
                                                                                             Conditions
    SHOULD IMMEDIATELY STOP THE USE OF THE SERVICES AND
    NOTIFY THE COX CUSTOMER SERVICE DEPARTMENT SO THAT                                       Billing and
    YOUR ACCOUNT MAY BE CLOSED,                                                              Payment Policies
    1. Prohibited Activities. You may not use the Service in a manner that
                                                                                            Residential Internet
    violates any applicable local, state, federal or international law, order or            Service
    regulation. Additionally, you may not use the Service to:
                                                                                             Acceptable Use
      • Harm to Minors. You may not use the Service to harm or attempt to                    Policy
        harm a minor, including, but not limited to, hosting, possessing,
                                                                                             Subscriber
        distributing, or transmitting child pornography or other material that is
        unlawful.                                                                            Agreement

      • Conduct, participate in, or otherwise facilitate, pyramid or other illegal           Speeds and Data
        soliciting schemes.                                                                  Plans

      • Take part in any fraudulent activities, including impersonating any                  Tech Solutions
        person or entity or forging anyone else's digital or manual signature.               Terms of Service
      • Invade another person's privacy, stalk, harass, or otherwise violate the             WiFi Terms of
        rights of others.                                                                    Service
      • Post, transmit, or distribute content that is illegal, threatening, abusive,        Residential
        libelous, slanderous, defamatory, promotes violence, or is otherwise
                                                                                            Telephone Service
        offensive or objectionable in Cox’s sole discretion.                                 Customer
      • Restrict, inhibit, or otherwise interfere with the ability of any other              Agreement
        person to use or enjoy their equipment or the Service, including,
        without limitation, by posting or transmitting any information or                    Telephone Modem
        software which contains a virus, lock, key, bomb, worm, Trojan botnet,               Battery Policy
        cancelbot, or other harmful feature.                                                Residential Video
      ■ Access or use the Service with an IP address other than the dynamic                 Service
        Internet Protocol ("IP") address assigned to you which adheres to                    All Digital Plan
        dynamic host configuration protocol ("DHCP"). You may not configure                  Details




   http://www.cox.com/aboutus/policies.cox                                                                                                  7/9/2015
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         !he Service or any relaled equipment to access or use a static IP              Business Customers
         address or use any protocol other than DHCP.
                                                                                        Annual Privacy
       • Modify any caDle modem connected to the Cox network, regardless of             Notice
         whether the modem is owned by you or leased from Cox. in order to
         commit theft of the Service, fraudulently use the Service or provide the        General Terms
         Service to a third paity. Cox may work with iaw enforcement if any             SMS Text
         such theft or fraud occurs.                                                    Message Terms
       •• Modify the MAC address of any modem connected to the Cox
          network.                                                                      Business Data
                                                                                        Services
       •• Collect or store personal data about other users.                             Acceptable Use
                                                                                        Policy
       • Use an IP address not assigned to you by Cox.
       • Violate any other Cox policy or guideline.                                     WiFi Terms of
                                                                                        Service
       • Resell or redistribute the Service to any third party via any means
         including but not limited to wireless technology.                              Business Voice
                                                                                        Services
     2. Intellectual Property Infringement, You may not use the Service to
                                                                                        Customer
     post, copy, transmit, or disseminate any content that infringes the patents,
                                                                                        Telephone
     copyrights, trade secrets, trademark, rror-al rights, or propriety rights of any
     party. Cox assumes no responsibility, and you assume all risk regarding            Agreement
     the delenminalion of whether material is in the public domain, or may
                                                                                        Operations Policies
     otherwise be used by you for such purposes.
                                                                                        Internet Service
     3. User Content, You are solely responsible for any information that is            Disclosures
     transmitted from your IP address or your account on the web or other
     Internet services. You must ensure that the recipient of the content is            Procedure for
     appropriate and must take appropriate precautions to prevent minors from           Claim of Copyright      i i
                                                                                        InfringeiTient
     receiving inappropriate content. Cox reserves the right to refuse to post or
     to remove any information or materials from the Service, in whole or in            Law Enforcement
     part, that Cox deems, in its sole discretion, to be illegal, offensive,
                                                                                        and Subpoenas
     indecent, or otherwise objectionable                                               Information
     4. Commercial Use. The Service is designed for personal, non -business
                                                                                        Leased Access
     related use of the Internet and may not be used for commercial purposes.           Information
     You may not resell the Service or othenwise make the Service available for                               ..J
     use to persons outside your dwelling (for example, through an open
     wireless home network). You agree not to use the Service for operation as
     a de facto Internet service provider, or for any other business enterprise
     (whether for profit or non-profit), including, without limitation, IP address
     translation or similar facilities intended to provide additional access. For
     commercial Internet service please contact Cox Business.
     5. Servers, You may not operate, or allow others to operate, servers of
     any type or any other device, equipment, and/or software providing server­
     like functionality in connection with the Service, unless expressly
     authorized by Cox
     6. Misuse of Service You may be held responsible for any misuse of the
     Service that occurs through your account or IP address, even if the misuse
     was inadvertent You must therefore take precautions to ensure that others
     do not gain unauthorized access to the Service or misuse the Service,
     including conduct in violation of this AUP..
     7. Hacking/Attempted Unauthorized Access. You may not use the
     Service to breach or attempt to breach the security of another user or
     attempt to gain access to any organization or person's computer, software,
     or data vrithout the knowledge and consent of such person. The equipment
     and the Service may not be used in any attempt to circumvent the user
     authentication or security of any host, network or account. This includes,
     but is not limited to, accessing data not intended for you, logging into or
     making use of a serrer or account you are not expressly authorized to
     access, or probing the security of other networks or computers for any
     reason. Use cr distribution oi tools for compromising security, such as
     password guessing programs, cracking tools, packet sniffers or network
     probing tools, is prohibited.
     8. Security. You are solely responsible for the security of any device
     connected to the Service, including any data stored on that device. You
     are responsible for implementing appropiiate security precautions for all




   http;//www.cox.corn/aboutus/po!icies.cox                                                                              7/9/2015
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   nsysiijms cpnri!^t8<J to the ^fvice to protect againsinireats such Os
   I vimses; spam, Trojan:botnals, anti other matiWous intrusions. Yog ara,
       responsible for enabling the security of any wireless (Wi-Fi) networks
       connected to the Service. Any wireless network installed by the customer
       or a Cox representative that is unsecured or ’open" and connected to Uie
       Cox nehvork is prohibited. You authorize Cox to use technology to detect
       unsecured wireless networks associated with your use of the Service. If
       Cox determines that you are using the Service via an unseatred wireless
       network, Cox will notify you to enable the Security on the Wi-Fi device.
     9. Disruption of Service. You may not disrupt the Service in any manner.
     You shall not interfere with computer networki.ng or telecommunications
     services to any user, host or network, including, without limitation, denial of (
   ; service attacks, flooding of a network, overloading a service, improper
     seizing and abuse of operator privileges or attempts to "crash" a host.
   : 10. Viruses, Trojan Horses, Worms and Denial of Service Attacks.
   ; Software or other cxjntent downloaded from the Service may contain
   : viruses and it is your sole responsibility to take appropriate precautions to
     protect your computer from damage to its software, files and data. You are
     prohibited from posting, transmitting or disseminating any information or
     software that contains a virus, Trojan horse, spambot, worm or other
     harmful program or that generates levels of traffic sufficient to impede
     others' ability to send or retrieve information;. Prohibited conduct of this
     type includes denial of service attacks or similarly disruptive transmissions,
     as well as transmissions containing other harmful or maiidous features.
     We may suspend the Service without prior notice if we detect a harmful
     program such as a virus infection. Your service will be resumed once the
     harmful program is removed,
       11. Email. You may txit use the Service to send bulk, commerdal or
   :   unsolicited ("spam") email messages. Any unsolicited email, originating
   ;   from any source, must not direct redpienfs to any website that is pari of
   i   our Service, such as personal web pages, or other resources that are part
   1   of the Service. The Service may not be used to collect responses from
   i   unsolicited email sent from accounts on other Internet hosts or email
   i   services that violate this Policy or the acceptable use policy of any other
       Internet serwce provider. In addition, "mail bombing," the sending of
       numerous copies of the same or substantially similar messages or very
       large messages or files with the intent to disrupt a server or account, is
       prohibited.

       You may not reference Cox In the header or body of an unsolicited email,
       or list an IP address that belongs to the Cox network In any unsolidted
       email. Further, you may not take any action which implies that Cox is the
       sponsor of any unsolicited email even if that email is not sent through the
       Cox .network. Further, forging, altering or removing electronic mail headers
       is prohibited.
       If the Service is disconnected, whether volunta.nly or by termination, all
       user names and associated electronic email addresses may be
       immediately released for reuse. Upon disconnection, any mailbox contents
       may be immediately deleted or held in a locked state. Addresses and
       email may be held until Cox deletes them as part of its normal polides and
       procedures. There is no obligation for Cox to retain or make any user
       name, email address or stored email retrievable once the Service is
       disconnected.

       12. Data Usage, Data Storage and Other Limitations, Cox offers
       multiple packages of Service with varying speeds, features and data plans
       (not all packages are available in all areas). You must comply -with the
       current data usage, data storage, email limits a.nd other requirements
       associated with Itie package of Service you selected. Information on
       speeds, usage and other features can be found at Speeds and Data Plans
       Information- You must ensure that your activities do not improperfy restrict,
       inhibit, or degrade any other user's use of the Service, nor represent (in
       Cox’s sole judgment) an unusually great burden on the network itself. In
       addition, you must ensure that your use doss not i.mproperly restrict,
       inhibit, disrupt, degrade or impede Cox's ability to deliver ttie Service and
       monitor the Service, backbone, network nodes, and/or other network




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     services, in some rare cases. Cox may sospeod or larminate (he Service if
     the issOcs ir).euestion;have hoi bssh ies^ved a«sr consuitatohwim fJox:
     13. Conflict, In the event of a conflict between the Subscriber Agreement
     and this AUP. the terms of the Subscriber Agreement wifi prevail.
     14. How to Contact Cox. For any questions regarding this AUP.
     complaints of violations, or cancellation notices, please contact Cox at one
     of the following:
       • Email: abusefScox.net
       • Phone: See your invoice or v-sit our Contact web pane
       ■ U.S. Mail: See your invoice or visit our Contact web oaoe




     Cox® High Speed Internet Subscriber Agreement
     Introduction

     Updated 05/19/1 .S
     This Subscriber Agreement (the "Agreemenf) sets forth the terms and
     conditions under which CcxCcm, LLC d/b/a Cox Communications, and its
     affiliates and/or distribution partners (collectively, "Cox"), agrees to provide
     Cox* High Speed Internet* service (hereinafter the "Service") to you. By
     subscribing to and using the Service, you (i) agree to abide by. and require
     others using the Service via your account to abide by the terms of this
     Agreement, and (ii) represent and warrant that you are at least 18 years of
     age. If you do not agree with the foregoing, you may not use the Service
     and must return any Cox-owned equipment and associated materials to
     Cox. This Agreement is deemed to bo received by you and is effective on
     (he date which you subscribe to the Service, and continues until your
     subscription is terminated, except for those provisions which by their
     nature continue beyond termination, such as indemnification for claims
     arising out of your use of the Service,
     Cox reserves the right to modify the terms of this Agreement and prices for
     the Service (unless you have a separate contract for a specific price and
     term). Cox may discontinue or revise any or all other aspects of the
     Service, including features or enhancements, in its sole discretion at any
     time by posting changes online. Your continued use of the Service after
     changes are posted constitutes your acceptance of this Agreement as
     modified by the posted changes. The updated, online version of this
     Agreement shall supersede any prior version of this Agreement that may
     have been included in any software or related materials provided by Cox,
     This Agreement should be read in conjunction with oiir Acceptable Use
     Policy, C'AUP"), Privacy Policies, and other applicable policies,
     IF YOU DO NOT AGREE TO BE BOUND BY THESE TERMS, YOU
     SHOULD IMMEDtATELY STOP THE USE OF THE SERVICES AND
     NOTIFY THE COX CUSTOMER SERVICE DEPARTMENT SO THAT
     YOUR ACCOUNT MAY BE CLOSED.
     1. Your Subscription
     Your subscription entitles you to use the Service, Your subsaiption is
     personal to you, you agree not to assign, transfer, resell or sublicense your
     rights as a subscriber unless spacificaily allowed by this Agreement, You
     agree that you are solely responsible and liable for any and all breaches of
     the terms and conditions of this Agreement, whetlier such breach results
     from your use of (tie Service or by another using your Service or your
     computer. You agree to contact the local Cox office identified on your
     .monthly invoice immediately upon the occurrence of any change in the
     status of your account (e.g,, change in individuals authorized to use your
     account) for the purpose of updating your account information.
     2. Payment
     You agree to pay all monthly fees and installation charges including, but
     not limited to, applicable, taxes, customer service fees, iate fees and door
     collection iees. Monthly fees will bs billed one month in advance. If
     payment is not received by the due date, late fees and/or collection




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    ^charges aiay be sssesse^aSuSeSatvlStnay be'tirmlnatedf^^ may
      incur charges inetuding. wsthpUt fimiteiioft, charges relating to the purchase
      of "pfomium" or usage-based services, such as online storage in addition
      to those billed by Cox AH such charges, including all applicable taxes, are
      your sole responsibility. If your Service is terminated you may be required
      to pay a reconnect fee and/or a security deposit in addition to all past due
      charges before the Service is reconnected. You agree to be responsible
      for any and all charges, damages and costs that you or anyone using your
      Cox account incurs.
     3. Software License
     Cox grants to you a limited, nonexclusive, nontransferable and
     nonassignable license to install and use Cox's access software (including
     soltware from third party vendors that Cox distributes, hereinafter referred
     to as the "Licensed Software"), in order to access and use the Service,
     Cox may modify the Licensed Software at any time, for any reason, and
     without providing notice of such modification to you. The Licensed
     Software constitutes confidential and proprietary information of Cox and
     Cox's licensors and contains trade secrets and intellectual property
     protected under United States copyright laws, international treaty
     provisions, and other laws. All right, title, and interest in and to the
     Licensed Software, including associated intellectual property rights, are
     and shall remain with Cox and its licensors. You agree to comply with the
     terms and conditions of all end user software license agreements
     accompanying any software or plug-ins to such software distributed by
     Cox in connection with the Service. You shall not translate, decompile,
     reverse engineer, distribute, remarket, or otherwise dispose of the
     Licensed Software or any part thereof. You acknowledge that the Licensed
     Software, and any accompanying documentation and/or technical
     information, is subject to applicable export control laws and regulations of
     the United States. You agree not to export or re-export the Licensed
     Software, directly or indirectly, to any countries that are subject to United
     States export restrictions. Your right to use the Licensed Software
     terminates upon termination of this Agreement.
     4. Equipment
     You may rent or purchase a cable modem or gateway from Cox, or you
     may purchase a DOCSIS-compliant, Cox-approved device from a third
     party retailer, Cox reserves the right to provide service only to users with
     Cox-approved DOCSIS-compliant modems. Please check with local Cox
     Customer Support or online at htto://ww2.cox.co.'n/residential/supDOft.cox
     for the most current Cox approved device list. You agree to connect only
     Cox approved equipment to the Cox nehwork
     You wll! not remove any Cox owned equipment (the "Equipment") from the
     Premises or connect the Equipment to any outlet other than the outlet to
     which the Equipment was initially connected by the Cox installer, Cox may
     relocate the Equipment for you within the Premises at your request for an
     additional charge. If you relocate to a new address within Cox's service
     area, you may be charged a new installation fee to initiate Service in the
     new location. You will not connect any equipment not authori2ed by Cox to
     the cable modem outlet You understand that failure to comply with this
     restriction may cause damage to the Cox network and subject you to
     liability for damages and/or criminal prosecution^ You may not alter, modify
     or tamper with trie Equipment or the Service, or permit any other person to
     do ttte same that is not authorized by Cox,
     5. Installation
     You authorize Cox personne! and/or its agents to enter your premises (the
     "Premises") at mutually agreed upon times in order to install, maintain,
     inspect, repair and remove trie Service If you are not the owner of the
     Premises upon which the Service is to be installed, you repiesent and
     warrant that you tiave the authorization or consent of the owner of the
     Premises for Cox personnel and/or ils agents lo enter the Premises for the
     purposes described above. You shall indemnify and hold Cox harmless
     from and against any claims of the owner of the Premises arising out of the
     performance of this Agreement;




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     and/or its agents to open your computer. You further acknowledge and
     agree that installation and/or use of the Service (including Licensed
     Software) may result in the modification of your computer's systems files
     and that Cox may periodically update the software in your modem in order
     to provide the Service, Cox does not represent, warrant, or covenant that
     such modifications will not disrupt the normal operations of your computer,
     Co,x shall have no liability whatsoever for any damage resulting from the
     installation and/or use of the Licensed Software or file modifications, or the
     Services, Cox is not responsible for returning your computer to its original
     configuration prior to installation, Cox or its agents will supply and install
     certain software and, if required, an extra cable outlet, a cable modem and
     an Ethernet card for a fee determined by Cox. Cox will also provide an
     informational guide and/or online instructions on how to use the Service.
     You may transfer the Licensed Software to additional computers within the
     home, but service and support for these additional machines is limited
     and/or may incur an additional fee. If you intend to transfer the software,
     you must give Cox prior notice of such transfer. Unless offered by Cox as
     a service, you agree that Cox has no responsibility to provide service and
     support for in-home neKvorks,
     6. Acceptable Use Policy
     The Acceptable Use Policy located at
     htlo://ww2.cox com/ahoutus/Doiicies.cox#acu is incorporated herein by
     reference and made a part of this Agreement. You agree to use the
     Services strictly in accordance with the Acceptable Use Policy, Under the
     Acceptable Use Policy, Cox may suspend the Service to you without
     notice under certain circumstances, such as a virus infection on your
     device that could harm Cox's network or other Cox subscribers, or if you
     are engaging in conduct that is harmful to Cox or other subscribers. The
     Acceptable Use Policy may be modified by Cox from time to time, and the
     current version will be posted online,
     7. Information You Generate
     You are solely responsible and liable for all material that you upload, post,
     email, transmit or otherwise make available via the Service, including,
     without iimitation, material that you post to any Cox Website or the website
     of a Cox affiliate. Unless indicated on a Cox Website, such as a forums
     site, Cox does not claim ownership of material you submit or make
     available for inclusion on the Service. However, witti respect to materia!
     you submit or make available for inclusion on publicly accessible areas of
     the Service, you grant Cox a world-wide, royally free and non-exdusive
     license(s) to: use your material in connection with Cox's businesses
     including, but rot limited to, the rights to: copy, distribute, publicly perform,
     publicly display, transmit, publish your name in connection with the
     material if you made your name public, and to prepare derivative works.
     No compensation will be paid with respect to the use of your material.
     8. Links to Third Party Web Sites
     In your use of the Service and/or Cox Websites, you may view links to
     various websites operated or owned by third parties ("Third Party Site(s)"),
     Content provided via Third Party Sites is not under the control or
     ownership of Cox, and Cox expressly disclaims any responsibility for such
     content. The inclusion of any li-nk to a Third Party Site is not (i) an
     endorsement by Cox of the Third Party Site, (ii) an acknowledgement of
     any affiliation with its operators or owners, or (iii) a warranty of any type
     regarding any information or offer on the Third Party Site, Your use of any
     Third Party Site is governed by ttie various legal agreements and policies
     posted at that Website,
     9. Removal of Content
     Cox reserves the right at all times and without notice to remove, restrict
     access to, or make unavailable, any content, such as that posted on
     support forums or social media sites, that it considers, in its sole discretion,
     obscene, lewd, lascivious, excessively violent, harassing, or otherwise
     objectionable, and to retain and/or disclose any content or other
     Information in Cox's possession about or related to you. your use of the




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     Service or othsnwae as Ccwt dsems necessary to satisfy any applicable
     law, regulation, legal process, or governmental request.

     10. Privacy
     You authorize Cox to make inquiries and to receive information about your
     credit history from others and to utilize such information in its decision
     regarding its provision of the Service to you. You agree that Cox may
     collect and disclose information concerning you and your use of the
     Service in the manner and for the purposes set forth herein and in Cox's
     Privacy Policies. Please read the Online Privacy Policy at
     htto:f/ww2 cox.com/aboutus/DOiicies/vour-orivasv-riaht5.cox which governs
     visits to our Websites such as ww2.cox.com and the Annual Privacy Notice
     at httD://ww2.cox.com/aboutus/Doiicies/annual-privacy-notice.cox.
     11. No Spam or Other Unsolicited Bulk Email
     Cox may immediately terminate any subscriber account that it determines,
     in its sole discretion, is transmitting or is othenvise connected with any
     "spam" or other unsolicited bulk email.. In addllion, if actual damages
     cannot be reasonably calculated, you agree to pay Cox liquidated
     damages of five dollars (U.S. SS.pO) for each piece of "spam" or
     unsolicited bulk email transmitted from or otherwise connected with your
     account. Otherwise you agree to pay Cox's actual damages. Cox reserves
     the right to block, reject or remove what It considers in its sole discretion to
     bo "spam" or other unsolicited bulk email from the Service, and Cox shall
     have no liability for blocking or removing any email considered to be
     "spam."

     12. Termination and Surviving Obligations
     Upon termination of this Agreement for any reason, all provisions
     regarding payment, arbitration, indemnity, intaliectual property, software
     licenses, governing law, and all other provisions which by their nature
     should reasonably survive termination, shall survive termination.
    You expressly agree that upon termination of this Agreement; (i) You will
    pay Cox in full for your use of any Equipment end Service up to the later of
    the effective date of temnination of this Agreement or the date on which the
    Service and any Equipment have been disconnected and relumed to Cox.
    You agree to pay Cox on a pro-rated basis for any use by you of any
    Equipment Of Services for a part of a month, (ii) You will permit Cox to
    access your premises at a reasonable time to remove any Equipment and
    other material provided by Cox. (iii) You will ensure the immediate return of
    any Equipment to Cox You will return or destroy all copies of any software
    provided to you pursuant to this Agreement, (iv) Cox is authorized to
    delete eny files, programs, data and email messages associated with such
    account. As a courtesy Cox may, but is not obligated to. retain your emails
    for a short period of time following termination in the event you resume use
    of the Service.
     13. Disclaimer of Warranties and Limitation of Liability
    You expressly agree that Cox is not responsible or liable for any content,
    act or omission of any third party including, without limitation, any
    threatening, defamatory, obscene, offensive, or illegal conduct, or any
    infringement of another's rigttts including, without limitation, privacy and
    intellectual property rights, and you hereby release Cox for any such
    claims based on Ihe activities of third parties, THE SERVICE IS
    PROVIDED TO YOU "AS IS" WITHOUT WARRANTY OF ANY KIND,
    NEITHER COX, NOR ITS AFFILIATES OR ANY OF ITS SUPPLIERS OR
    LICENSORS, EMPLOYEES OR AGENTS WARRANT THE SERVICE
    WILL BE UNINTERRUPTED OR ERROR FREE OR FREE FROM
    VIRUSES OR OTHER HARMFUL MALICIOUS AGENTS, EVEN IF ANTI­
    VIRUS MECHANISMS ARE DEPLOYED, COX DOES NOT WARRANT
    THAT ANY DATA OR ANY FILES SENT BY OR TO YOU WILL BE
    TRANSMITTED IN UNCORRUPTED FORM OR WITHIN A
    REASONABLE PERIOD OF TIME. ALL REPRESENTATIONS AND
    WARRANTIES OF ANY KIND, EXPRESS OR IMPLIED, INCLUDING,
    WITHOUT LIMITATION, ANY WARRANTIES OF TITLE,
    NONINFRINGEMENT, FITNESS FOR A PARTICULAR PURPOSE AND
    MERCHANTABILITY ARE HEREBY EXCLUDED AND DISCLAIMED,
    COX AND ITS EMPLOYEES, REPRESENTATIVES AND AGENTS ARE




   http;//www,cox.com/aboutus/policies.cox                                                7/9/2015
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    "not UABI.6f or any COSTS OR DAMAGe.SrARiS'l^^                                        OR”
    INDIRECTLY, FROM THE INSTALLATION OR USE OF THE LICENSED
    SOFTWARE, THE SERVICE (INCLUDING EMAIL). EQUIPMENT
    FURNISHED BY COX, OR COX'S PROVISION OF TECHNICAL
    SERVICE AND SUPPORT FOR THE SERVICE; EVEN IF SUCH
    DAMAGE RESULTS FROM THE NEGLIGENCE OR GROSS
    NEGLIGENCE OF A COX INSTALLER, TECHNICIAN, OR CUSTOMER
    SERVICE REPRESENTATIVE, INCLUDING ANY INDIRECT,
    INCIDENTAL, EXEMPLARY, SPECIAL, PUNITIVE OR OTHER
    DAMAGES, REGARDLESS OF WHETHER OR NOT COX HAS BEEN
    ADVISED OF THE POSSIBIL ITY OF SUCH DAMAGES. IN ANY EVENT,
    COX'S CUMULATIVE LIABILITY TO YOU FOR ANY AND ALL CLAIMS
    REUTiNG TO THE USE OF THE SERVICE SHALL NOT EXCEED THE
    TOTAL AMOUNT OF SERVICE FEES PAID DURING THE
    IMMEDIATELY PRECEDING RyVELVE MONTH PERIOD, YOU HEREBY
    RELEASE COX FROM ANY AND ALL OBLIGATIONS, LIABILITIES, AND
    CLAIMS IN EXCESS OF THIS LIMITATION, COX IS ALSO NOT LIABLE
    FOR ANY COSTS OR DAMAGES ARISING FROM OR REljATED TO
    YOUR BREACH OF THIS AGREEMENT. Your sole and exclusive
    remedies under this Agteement are as expressly set forth herein. Some
    states do not allow the exclusion or limitation of implied warranties, so the
    above exclusions or limitations may not apply to you.
    14. Indemnification
    You agree to indemnify, defend, and hold harmless Cox. its officers,
    directors, employees, parent companies, subsidiaries, members, affiliates,
    suppliers, and agents, from any daim, demand, or damage, induding
    costs and reasonable attorneys' fees, asserted by Cox or any third party
    due to or arising out of your use of or conduct on the Service. Cox will
    notify you within a reasonable period of time of any third party claim for
    which Cox seeks indemnification and will afford you the opportunity to
    participate in the defense of such claim, provided that your participation
    will not be conducted in a manner prejudicial to Cox's interests, as
    reasonably determined by Cox.
    15. Management of Network
    Cox is committed to the ongoing management of its network to improve Its
    service offerings, protect customers, and create new Services and feature
    enhancements tor its customers. Cox does not shape or throttle Internet
    traffic based on the particular online content, protocols or applications a
    customer uses, Cox uses other measures to ensure the best overall
    experience for our CHSI customers, including, without limitation: rate
    limiting of email (as set forth in our email policies), email storage limits
    (including deletion of dormant or unchecked email), rejection or removal of
    "spam" or otherwise unsolicited bulk email; Cox also employs other means
    to protect customers, children, and its network, including blocking access
    to child pornography (based upon lists of sites provided by a third party
    and an international police agency), and security measures (including
    identification and blocking of botnets, viruses, phishing sites, malware, and
    certain ports as set forth below),
    Cox may take any appropriate measures, whether or not they are
    described above, in response to extraordinary levels of usage, denial of
    service attacks, or other exigent circumstances that have a significant
    effect on our subscribers' ability to use the Service or Cox's ability to
    provide the Service.
     Visit .Sp.ceds..and,,Qa.ta.lil.ajis J..rifgt;tn3!|gn. to learn about specific featirres of
     the Service.induding speeds, data plans and email,
     16. Online Advertising
     When you use the Service, Cox rnay display advertisements, public
     service announcements, and ottier messages to you. Cox does not use
     your web surfing activity or other online behavior to determine the
     advertisements and other information shown to you. Location-based online
     advertising is based upon your zip + 4 zip code, similar to direct mail you
     receive through US mail Visit Location-Based Advertising for more
     information and ;ris:ructions on opting out of this service.




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  17. Damage to and Encumbrances on Equipment, Computer,
  Software
  If Equipment is leased or loaned to you by Cox the Equipment remains the
  property of Cox. You may not sell, transfer, lease, encumber or assign all
  or part of the Equipment to any third party. You agree to pay the full retail
  cost for the repair or replacement of any lost, stolen, unrelurned,
  damaged, sold, transferred, leased, encumbered or assigned Equipment
  or part thereof, together with any costs incurred by Cox in obtaining or
  attempting to obtain possession of any such Equipment, You hereby
  authorize Cox to charge your credit card or other payment method
  authorized by you for any outstanding Service, Equipment, and repair and
  replacement costs described herein, Cox may. at its option, install new or
  reconditioned Equipment, including swapping your existing equipment for
  Cox-compliant equipment, for which you may incur a fee.
  18. Copyright and Trademark Notices
  Copyright© 1998 - 2012 Cox Communications, Inc. All rights reserved.
  Materials available on Cox Websites are protected by copyright law. Cox is
  a trademark of Cox Communications, Inc. Cox and other Cox services
  referenced herein are either actual service marks or registered service
  marks of Cox Communications, Inc, All other trademarks and service
  marks are the property of their respective owners.
  19. Governing Law
  This Agreement is governed by the laws of the state in which your billing
  address in our records is located, and applicable federal law,
  20. DISPUTE RESOLUTION; MANDATORY BINDING ARBITRATION;
  CLASS ACTION WAIVER.
  YOU HAVE THE RIGHT TO OPT OUT OF THIS DISPUTE RESOLUTION
  PROVISION (EXCEPT JURY TRIAL WAIVER) WITHIN 30 DAYS OF
  RECEIPT OF THIS AGREEMENT, IF YOU FOLLOW THE PROCEDURES SET
  FORTH IN SECTION 20.2 BELOW. OTHERWISE, YOU WILL BE BOUND
  TO SETTLE ANY DISPUTES YOU MAY HAVE WITH COX THROUGH THE
  FOLLOWING DISPUTE RESOLUTION PROCEDURES.
  20.1 YOU AND COX AGREE TO ARBITRATE - RATHER THAN LITIGATE
  IN COURT - any and all claims or disputes behveen us (including any
  parents, subsidiaries, affiliates, officers, directors, employees, or agents of
  Cox) that arise out of or in any way relate to this Agreement or any
  Services or products that Cox provides to you in connection with this
  Agreement (including but not limited to amounts that Cox charges you for
  Services or products provided). You and Cox also agree to arbitrate any
  and all claims or disputes that arise out of or relate in any way to any
  services or products provided to you by Cox or any of its affiliated entities
  under any other agreement Notwithstanding this agreement to arbitrate,
  you and Cox may bring appropriate claims against each other in small
  claims court, if the claims fall within the small claims court's jurisdiction, or
  before the Federal Communications Commis-sion, the relevant state public
  utilities commission, or any other federal, state, or local government
  agency authorized by law to hear the claims,
  20.2 Opt Out: You may opt out of this dispute resolution provision (except
  for the jury trial waiver contained in Section 20,7 below) by notifying Cox of
  that intent within 30 days of receipt of this Agreement by sending a letter
  staling that you are opting out of this dispute resolution provision to Cox at
  ArbitrationOptOut@cox.com or via U.S, mail to Cox Communications
  Legal Department, Attn: Litigation Counsel, 6205-B Peachtree Ounwoody
  Road, Atlanta, Georgia 30328. Exercising this right, should you choose to
  do so, V7lil not affect any of the terms of you.r contract with Cox, and you
  may remain a Cox customer. If you opt out of the dispute resolution
  provision, that opt out will remain in effect if Cox modifies this section in
  the future or you agree to a new term of service under this Agreement. If
  you enter into a new agreement with Cox that includes a dispute resolution
  provision and you want to opt out of that provision, you will need to follow
  the instpjctions in that agreement for opting out,
  20.3 Class Action Waiver: You and Cox agree that all claims or disputes
  beh/veen you and Cox will be arbitrated individually, and that there will be




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  ho cfsss, toprssaniativa, or                aciions in BrbiiraJion. !f yog or
  Cox brings a rsiairh in small dalms Court, ihe class actionwaiver vvil} apply,
  and neilher of us can bring a claim on a class or representative basis
  Furthermore, neither you nor Cox rnay participate in a class cr
  representative action as a class member if the class action asserts claims
  that would fail within the scope of this arbitration agreement if they were
  directly asserted by you or Cox. We both agree that Itiis class action
  waiver Is an essential part of our arbitration agreement and that if this
  class action waiver is found to be unenforceable by any court or arbitrator
  then the entire arbitration agreement set forth in this Section 20 will not
  apply to any claim or dispute between you and Cox, except for the
  provisions of Section 20.7 waiving the right to jury trial, This class action
  waiver may not be severed from our arbitration agreement.
  20.4 Arbitrator Authority: The arbitration between you and Cox will be
  binding. In arbitration, there is no judge and no jury. Instead, our disputes
  will be resolved by an arbitrator, whose authority is governed by the terms
  of this Agreement. You and Cox agree that an arbitrator may only award
  such relief as a court of competent jurisdiction could award, limited to the
  same extent as a court would limit relief pursuant to the terms of this
  Agreement, An arbitrator may award attorneys' fees and costs if a court
  would be authorized to do so, and may issue injunctive or declaratory relief
  if that relief is required or authorized by the applicable law, but that
  injunctive or declaratory relief may not extend beyond you and your
  dealings with Cox, Review of arbitration decisions in the courts is very
  limited,

  20.5 Informal Dispute Resolution: You and Cox agree that you will try :o
  resolve disputes informally before resorting to arbitration, if the dispute
  cannot be resolved by telephone, you agree to notify Cox of the dispute by
  sending a written description of your claim to Cox Customer Care. ATTN:
  Corporate Escalation Team, 620S-B Peachtree Dunwoody Road, Atlanta,
  Georgia 30328 so that Cox can attempt to resolve it with you. If Cox does
  not satisfactorily resolve your claim within 30 calendar days of receiving
  notice of it. then you may pursue the claim in arbitration. Neither you nor
  Cox may initiate arbitration without frst providing the other notice of the
  claim and following the informal dispute resolution procedure provided in
  this paragraph,
  20.6 Arbitration Procedures: You and Cox agree that this Agreement
  affects interstate commerce and that the Federal Arbitration Act applies.
  All aibitraticns shall be conducted by the American Arbitration Association
  C'AAA"). The AAA's rules are available on its website at www.adrorc or by
  calling 1-800-778-7879, If the claim asserted in arbitration is for less than
  $75,000, the AAA's Supplementary Procedures for Consumer-Related
  Disputes will apply. If the claim asserted is for $75,000 or more, the
  Commercial Arbitration Rules will apply, tf there is a conflict behveen the
  AAA's rules and this dispute resolution agreement, Itiis dispute resolution
  agreement shall control. To initiate arbitraticn, you must send a letter
  requesting arbitration and desc.nbing your claims to Cox a!

  Legal Department. Atm: Litigation Counsel, 6205-B Peachtree Dunwoody
  Road, Atlanta. GA, 30328, You must also comply with the AAA's rules
  regarding initiation of arbitration. Cox v/i!i pay all filing fees and costs for
  commencement of an arbitration, but you will be responsible for your ov/n
  attorneys’ fees and costs unless othe.'wise determined by the arbitrator
  pursuant to the terms of this agreement or applicable law. Cox will not
  seek to recover its fees and costs from you in the arbitration, even if
  allowed under the lav/, unless your claim has been determined to be
  frivolous. It you are successful in the arbitration. Cox will pay your
  reasonable attorneys' fees and costs. If you obtain an award from the
  arbitrator greater than Cox's last written settlement offer, Co.x wi:l pay you
  $5,000 in addition to what you have been awarded in the arbitration. The
  arbitration 'will be held in a mutually convenient location..
  20.7jLiry Trial Waiver: If for any reason this arbitration agreement is
  found to be unenforceable, or if you opt out of this dispute resolution
  agreement, you and Cox expressly and knowingly WAIVE THE RIGHT TO
  TRIAL BY JURY. Thi.s means that a Judge rather than a Jury will decide




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  disputes between you and Cox if, for any reason, the arijitfstipn agreement
  is not enforced.
  20.8 Survival: This dispute resolution provision survives Ihe termination of
  your contract with Cox, If you bring a claim against Cox after termination of
  your contract that is based in whole or in part on events or omissions that
  occurred while you were a Cox customer, this dispute resolution provision
  shall apply.
  20.9 Order of Precedence: Notwithstanding anything to contrary
  contained herein, if you are required to arbitrate any claim or dispute that
  arises out of or relate in any way to any Services provided to you by Cox
  or any of its affiiiated entities under any other agreement with Cox prior to
  the effective date of this Agreement ("Prior Ag.reement"). the dispute
  resolution terms contained in the Prior Agreement shall control with
  respect to those Services. Otherwise, the dispute resolution terms
  contained in this Agreement shall control.
  21. Miscellaneous
  This Agreement constitutes the entire agreement aixl understanding
  between the parties with respect to its subject matter and supersedes and
  replaces any and all prior written or oral agreements. In the event any
  portion of this Agreement is held to be unenforceable, the unenforceable
  portion shall be constoied in accordance with applicable law as nearfy as
  possible to reflect the original intentions of the parties, and the remainder
  of its provisions shall remain In full force and effect Nothing contained in
  this Agreement shall be construed to limit Cox's rights and remedies
  available at law or in equity. Cox's failure to insist upon or enforce strict
  performance of any provision of this Agreement shall not be construed as
  a waiver of any provision or right. Neither the course of conduct behveen
  Ihe parties nor trade practice shall act to modify any provision of this
  Agreement. This Agreement may not be assigned or transferred by you.
  This Agreement is freely assignable by Cox to third parties,
  22. How to Contact Us
  For any questions regarding this Subscriber Agreement, billing or other,
  please contact Cox at one of the following:
  Email; suoDorti'aicox.net
  Phone and U.S. Mail: See your invoice or visit htlp://ww'2.cox.com/ and
  check under "Contact Us"




  Terms and Conditions
  Effective June 1, 2015 (revision number 22- replacing revision
  number 21 below)
  IF YOU DO NOT ACCEPT THESE TERMS AND CONDITIONS DO NOT
  INSTALL AND/OR ACTIVATE THE COX SERVICE.
  Subject to credit approval, Cox will provide ail services that you. the
  Subscriber, request, on the following terms and conditions. Ali Cox
  services are referred to as "Service" or "Services", If Cox provides
  telephone Service in your area, such Service wilt be provided through the
  Cox telephone affiliate servicing your area, and you will also be bound by
  that affiliate's tariff on file with the State telephone regulatory authority
  and/or the service guides, Customer Service Agreement or other terms of
  se-n/ice located on Cox's website at
  hltD://www.cox.com/re3idential/phone,'reaulatoiv ("Phone Website"), If you
  receive Cox's High Speed Intemel Service, you will also be bound by the
  Cox High Speed Internet Subscriber Agreement, and the Cox Acceptable
  Use Policy, both located at wvAv,cox.com or at another URL Cox may
  designate (collectively with Ihe Phone Website, the "V'tebsite"). The
  Seivices are also subject to the Annual Customer Notice and the Annual
  Privacy Notice that you will receive each year and located on the Website,
  A, Cox's Obligations:
  1. Install in a workmanlike manner, the necessary Co;< Equipment and
  materials.




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  2, ftilaintain Cox gcjuipniertl iri sccordahco with reasonable industry
  sta ndards and appsicabte tegufa liens.
  3, If available, you may subscribe to the Cox wiring maintenance plan, and
  Cox will install and/or maintain wiring inside your premises (“Internal
  Wiring"). Otherwise. Cox may have no responsibility for the maintenance
  of Ycur internal Wiring,
  4, Cox has no obligation or responsibility for loss of stored content on any
  devices or for any damage to your devices.
   B. Your Obligations:
   1: Charges and Payments Pay all installation, equipmertt, service or other
  charges by due dale stated on your Cox bill. Charges are according to
  Cox’s rate schedule or, for phone service, tariff or service guide applicable
  at the time Services are rendered. Monthly seivice rales may be subject to
  additional federal, state and local fees, taxes, surcharges or other Cox
  imposed chaiges, including but not limited to, the regulatory cost recovery
  fee and the broadcast su.'-charge fee. Fees and charges are payable in
  advance once service is initiated. If you terminate Service before the end
  of a prepaid period, Cox will refund the prorated unused portion of the fees
  and charges, if the pro-rata unused portion is less than $5.00, Cox will
  make the refund on your request. If you or Cox terminate any of your
  Services, tor any reason, and any outstanding balance is not paid in full by
  ttie due date. Cox may transfer such outstanding balances for Services
  provided under this Agreement to other accounts that you have with Cox,
  2. Failure to Pay. If you fail fo make timely payment, Cox may terminate
  Service, remove or disable Cox equipment and impose late fees, collection
  trip fees, if applicable. Late fees and collection trip fees will not exceed the
  maximum amount permitted by law.
  3. Safe Working Environment. Provide Cox's employees and
  representatives with a safe working environment,
  4. Use of Services and Equipment. You are liable tor all Cox Equipment
  on your Premises and in your possession. You agree to use the Cox
  Equipment only for receiving the Services, For example, you will use any
  modem embedded in a digital video receiver only for the receipt of Cox
  video Services and any other Services expressly authorized by Cox. You
  agree that you will not and you will not permit others, including withrxit
  limitation any other provider of video, telecommunications or Internet
  services, to itse, rearrange, disconnect, abandon, remove, relocale, repair,
  alter, tamper or otherwise interfere with any of the Cox Equipment
  including software or firmware without Cox’s prior written consent, which
  Cox may withhold in its sole discretion. Such prohibition includes attaching
  or, permitting others to attach any unauthorized devices to Cox Equipment,
  using or permitting others to use equipment that causes interference with
  reception equipment, or otherwise degrades Cox's cable network signal
  quality or strength or creates signal leakage, altering a cable modem to
  change its downloading or uploading capacity, or altering identilying
  information such as serial numbers or logos. You assume complete
  responsibility for improper use. damage or loss of any equipment or
  sothMare/firmware furnished by Cox. You shall only use the Cox Equipment
  and Services in accordance with these terms and conditions and such
  other instructions, guidelines or procedures provided to you by Cox and in
  a manner that complies with ell applicable laws and regulations. If you use
  the Services or Cox equipment in a manner that violates any of those
  materials, or applicable laws and regulations, than Cox shall have the right
  to immediately restrict, suspend, or terminate your Services, without
  liability on the part of Cox.
  5. Access to Premises, Allow Cox access into your premises to install,
  maintain or repair, upgrade (if any), and remove Cox Equipment, Cox
  personnel have Cox identification you may request and examine. If you are
  not home at the time of a service call, you may authorize any other adult
  resident or guest at your residence to grant Cox access to your premises,
  8. No Assignment or Transfer. Any attempted assignment or transfer of
  the Services to any other tenant or occupant or to any other location
  without Cox's prior written consent is prohibited and is a breach of this
  Agreement.
  7. Authorization. If you do not own your premises: (i) You represent that
  you have obtained necessary permission from the owner to install Cox's




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   EquiprnenS (incSuding, ws^bout iimitatfdn> cqo)p[«eiU attached to iheoutsida
   ot the pfamises); and (it) You wai indemnity' Cox from claims of the
   owner trt connediort with tha insfattalion and provision of Bie Services.
   8. Phone Equipmant and Back-Lfp Baitary, A tetephone modem is
   required and will Pe provided for duration of phone service subscription.
   Upon disconnection of phone servtca, modem must be relumed within 3(!
   days Of a tnpnihiy rahtal fee or tost equipment charge will apply. Modem
   uses household electrical power lo operate. Telephone service, including
   access to e911 service, will not be available during a power outage without
   a backup battery or if the modem is moved or inoperable. If you hove a
   home alarm system or home health monitoring system that relies on your
   telephone line to operate, you will lose access to the service during a
   power outage unless you have a backup battery. You may purchase a
   backup battery from Cox so your telephone Service will continue to
   operate for up to eight hours during a power outage or, if you are a Lifeline
   customer, obtain a battery from Cox withou-t charge. If Cox does not
   provide a modem for Cox Services utilizing a telephone cable modern, you
   must provide it and it will remain your responsibility in ali respects,
   including obtaining battery backup, II (i) the modern that supplies your
   telephone Service is disconnected or moved, (ii) the backup battery is not
   charged or otherwise becomes inoperable, or (iii) there is an extended
   power outage, telephone Senrice, including access to e911, will not Pe
   available. It is your responsibility to monitor the health of the battery and
   oblain a replacement (see www.cox com/batlervt if the battery is reaching
   the end of its useful life. Cox uses your telephone Service address to
   identify your localion for e911 Service, To ensure that e911 dispatch
   receives your correct address, the telephone modem should not be
   moved, even inside your home. You must notify Cox in advance if you
   would like to move or relocate your telephone Service.
   C. Cox Equipment: in connection with the Services, Cox or its agent may
   provide you with equipment and embedded software including video
   equipment, Internet equipment, and equipment for telephone service,
   software or firmware, with or virithout a separate charge or rental fee ("Cox
   Equipment”). You may purchase some equipment at retail or from Cox
  directly that may perfonn some or all of the functions of Cox Equipment
  (with the exception of Cable Cards®). Cox Equipment, vrith the exception
  of a backup battery you purchase for telephone service, will remain the
   property of Cox and you will not acquire any ownership or other inte.tost in
  Cox Equipment or any nehvork facilities, cabling or software by virtue of
  any payment made pursuant to this Agreement or by any attachment of
  the Cox Equipment to the Premises, Co,x shall have the unrestricted right,
  but not the obligation, to upgrade, replace, remove or otherwise change
  the Cox Equipment (including embedded software). You consent to such
  changes incliiding code updates or downloads with or without notice to you
  which may alter, add to, or remove features or functionalities of the Cox
  Equipment. Cox may, at its option, install new or reconditioned Cox
  Equipment, including replacing your existing Cox Equipment, for which you
  may incur a fee. You agree that such changes may be performed wittiln
  Cox's sole discretion at any time and In any manner. It is a material breach
  for you to copy, duplicate, reverse engineer or in any way tamper with or
  interfere v/ith any Software provided to you by Cox, You also agree:
  1. To use the Cox Equipment only for receiving Services ordered from or
  through Cox, You will only use any modem embedded in a digital video
  device (e.g. set top box, DTA, etc.) for the receipt of Cox video Services.
  2. To pro.mptly return the Cox Equipnie,nt, in person, to any Cox retail
  canter or your local Cox office within thirty (30) days of notifying Cox of
  your decision to terminate your Service, unless otherwise instructed in
  writing by a Cox representative, in good condition and without any
  encumbrances, except for ordinary wear and tear resulting from proper
  use. If you do not promptly return the Cox Equipment or if it is damaged or
  encumbered, CUnreiurned Equipment"), the damages Cox will incur will be
  difficult to ascertain . Therefore, you agree to pay, and Cox may charge
  your account, a liquidated damages amount equal to Cox’s reasonable
  estimates of the replacement costs and incidental costs that Cox incurs;
  provided, however, that such amount v/ill not exceed the maximum arroirnt
  permitted by law (the "Unreturned Equipment Charge"). If you downgrade




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  your Services, you must prompUy relum and exchange,any ^vanced Cox
  Equipment (s g. HD or DVR receiver, phcne/data modem), in person, to
  any Cox retail center or your local Cox office wilhin thirty (30) days of
  notifying Cox of your decision to downgrade your Service, unless
  otherwise instructed in writing by a Cox representative, in good condition
  and without any encumbrances, except for ordinary wear and tear resulting
  from proper use, for standard Cox Equipment (e,g standard digital
  receiver, basic phrane ,modem, etc.) Otherwise, advanced Equipment
  charges may continue to apply. This provision and any other provision that
  by its nature should survive shall survive the termination or expiration of
  this Agreement.
  D. Programming: You acknowledge that Cox reserves the right at any time
  and in its sole discretion to change its channel lineup and/or to pre-empt
  specific programs or parts of programs previously advertised as available.
  Cox also reserves the right to alter its fee structure upon notice to you. You
  may immediately terminate service upon notice to Cox. You may not
  rebroadcast, transmit, record, perform, or charge admission to view or
  listen to any of the programming made available by the Services unless
  you obtain and pay for any public performance licenses.
  E. LIMITATION OF WARRANTIES AND LIABILITY: COX, ITS PARENT,
  AFFILIATES, EMPLOYEES, (COLLECTIVELY AND INDIVIDUALLY, THE
  •COX GROUP-) MAKE NO VVARRANTIES, EXPRESSED OR IMPLIED,
  INCLUDING, WITHOUT LIMITATION, ANY WARRANTY OF
  MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE, AS
  TO THE EQUIPMENT FURNISHED TO YOU AND/OR SERVICES
  PROVIDED, SOME STATES DO NOT ALLOW THE EXCLUSION OR
  LIMITATION OF IMPLIED WARRANTIES, SO THESE PROVISIONS MAY
  NOT APPLY TO YOU, THE COX GROUP SHALL NOT BE LIABLE FOR
  DAMAGES FOR FAILURE TO FURNISH, OR THE DEGRADATION OR
  INTERRUPTION OF ANY SERVICES, FOR ANY LOST DATA OR
  CONTENT, IDENTITY THEFT, FOR ANY FILES OR SOFTWARE
  DAMAGE. REGARDLESS OF CAUSE. THE COX GROUP SHALL NOT
  BE LIABLE FOR DAMAGE TO PROPERTY OR FOR INJURY TO ANY
  PERSON ARISING FROM THE INSTALLATION. MAINTENANCE OR
  REMOVAL OF EQUIPMENT. SOFTWARE, WIRING OR THE
  PROVISION OF SERVICES. NOR SHALL COX BE LIABLE FOR
  FAILURE TO PROVIDE SERVICE IF THE CAUSE IS DUE TO THE ACTS
  OF A THIRD PARTY.
  YOU HEREBY INDEMNIFY AND HOLD HARMLESS THE COX GROUP
  FROM ANY CLAIMS, ACTIONS, PROCEEDINGS, DAMAGES AND
  LIABILITIES. INCLUDING ATTORNEYS' FEES, ARISING OUT OF (I)
  SUCH DAf,1AGE OR INJURY RESULTING FROM ANY CLAIM THAT
  YOUR USE OF THE SERVICE INFRINGES ON THE PATENT,
  COPYRIGHT, TRADEMARK OR OTHER INTELLECTUAL PROPERTY
  RIGHT OF ANY THIRD PARTY, (II) ANY BREACH OR ALLEGED
  BREACH BY YOU OF THIS AGREEMENT; OR INJURY TO PERSON OR
  PROPERTY RESULTING FROM YOUR NEGLIGENCE, UNDER NO
  CIRCUMSTANCES WILL THE COX GROUP BE LIABLE FOR ANY
  INCIDENTAL, INDIRECT, PUNITIVE, SPECIAL OR CONSEQUENTIAL
  OAI'MGES, THE COX GROUP'S MAXIMUM TOTAL LIABILITY TO YOU
  ARISING UNDER THIS AGREEMENT SHALL BE LIMITED TO THE
  AMOUNT ACTUALLY PAID BY YOU IN THE TWELVE MONTHS
  PRECEDING YOUR CLAIM,
  F. DISPUTE RESOLUTION; MANDATORY BINDING ARBITRATION;
  CLASS ACTION WAIVER,
  YOU HAVE THE RIGHT TO OPT OUT OF THIS DISPUTE RESOLUTION
  PROVISION (EXCEPT JURY TRIAL WAIVER) 'WITHIN 30 DAYS OF
  RECEIPT OF THIS AGREEMENT. IF YOU FOLLOW THE
  PROCEDURES SET FORTH IN SECTION F(2) BELOW. OTHERWISE,
  YOU WILL BE BOUND TO SETTLE ANY DISPUTES YOU MAY HAVE
  WITH COX THROUGH THE FOLLOWING DISPU TE RESOLUTION
  PROCEDURES,

   !, YOU AND COX AGREE TO ARBITRATE — RATHER THAN LITIGATE
  IN COURT — any and all claims or disputes between us (including any




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  paf«r>ts. sub9i^isrtes;apiates.; OSii»f3, ^rectors, employees, or agents of
  Cox) that arise out of or in any way relate to this Agreement or any
  Services or products that Cox provides to you in connection with this
  Agreement (including but not limited to amounts that Cox charges you for
  Services or products provided). You and Cox also agree to arbitrate atty
  and all claims or disputes that arise out of or relate in any vray to any
  services or products provided to you by Cox or any of its affiliated entities
  under any other agreement. Notwithstanding this agreement to arbitrate,
  you and Cox may bring appropriate claims against each other in small
  claims court, if the claims fail within the small claims court's ju,dsdiction, or
  before the Federal Communications Commission, the relevant state public
  utilities commission, or any other federal, state, or local government
  agency authorized by law to hear the claims.
  2. Opt Out: You may opt out of this dispute resolution provision (except for
  the jury trial waiver contained in Section F(7) below) by notilying Cox of
  that intent within 30 days of receipt of this Agreement by sending a letter
  stating that you are opting out of this dispute resolution provision to Cox at
  ArbitrationODlOutiStcQx.com or via U.S. mail to Cox Communications
  Legal Department, Attn: Litigation Counsel, 6205-B Peachtree Dunwoody
  Road, Atlanta, Georgia 30328, Exercising this fight, should you choose to
  do so, will not affect any of the terms of your contract with Cox, and you
  may remain a Cox customer. If you opt out of ttie dispute resolution
  provision, that opt out will remain in effect if Cox modifies this section in
  the future or you agree to a new term of service under this Agreement. If
  you enter into a new agreement with Cox that includes a dispute resolution
  provision and you want to opt out of that provision, you will need to follow
  the instructions in that agreement for opting out
  3. Class Action Waiver: You and Cox agree that all claims or disputes
  between you and Cox will be arbitrated individually, and that there will be
  no class, representative, or consolidated actions in arbitration. If you or
  Cox brings a claim in small claims court, tha class action waiver v/ill apply,
  and neither of us can bring a claim on a class or representative basis.
  Furthermore, neither you nor Cox may participate in a class or
  representative action as a class member if the class action asserts claims
  that would fall within the scope of this arbitration agreement if they were
  directly asserted by you or Cox. We both agree that this class action
  waiver is an essential part of our arbitration agreement and that if this
  class action waiver is found fo be unenforceable by any court or arbitrator
  then the entire arbitration agreement set forth in this Section F will not
  apply to any claim or dispute between you and Cox, except for the
  provisions of Section F(7) waiving the right to jury trial. This class action
  waiver may not be severed from our arbitration agreement,
  4. A.foitrator Authority: The arbitration between you and Cox will be
  binding, In arbitration, there is no judge and no jury. Instead, our disputes
  will be iosolved by an arbitrator, whose authority is governed by the terms
  of this Agreement, You and Cox agree that an arbitrato.r may only award
  such relief as a court of competent jurisdiction could award, limited to the
  same extent as a court would limit relief pursuant to the terms of tfiis
  Agreement. An arbitrator may award attorneys' fees and costs if a court
  would be authorized to do so, and may issue injunctive or declaratory relief
  if that relief is required or authorized by the applicable law, but that
  injunctive or declaratory relief may not extend beyond you and your
  dealings with Cox, Reviev; of arbitration decisions in the courts is very
  limited:

  5. Informal Dispute Resolution: You and Cox agree that you will try to
  resolve disputes informally before resorting to arbitration. If the dispute
  cannot be resolved by telephone, you agree to notify Cox of the dispute by
  sending a written description of your claim to Cox Customer Care, ATTN:
  Corporate Escalation Team, 6205-B Peachtree Dunwoody Road, Atlanta,
  Georgia 30328 so that Cox can attempt to resolve it with you. If Cox does
  not satisfactorily resolve your claim within 30 calendar days of receiving
  notice of it, then you may pursue the claim in arbitration^ Neither you nor
  Cox may initiate arbitration without first providing the other notice of the
  claim and following the informal dispute resolution procedure provided in
  this paragraph.




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   8, Arbitration PfocedufOSi You and Cox astee Ih3i Ws; AQfieement affects
   intersiete CoRsmerce and iftat the Fedora! Arbitration Act applies. Alt
   arbitrations shall be conducted by the American Arbittaiion Association
   ("AAA"), The AAA's rules are available on its website at ViV/»v.adr.ora or by
   calling 1-300-778-7879. If the claim asserted in arbitration is for less than
   575,000. the AAA's Supplementary Procedures for Consumer-Related
   Disputes will apply. If the claim asserted is for $75,000 or more, the
   Commercial Arbitration Rules will apply. If there is a conflict between the
   AAA's rules and this dispute resolution agreement, this dispute resolution
   agreement shall controi. To initiate arbitration, you must send a letter
   requesting arbitration and describing your claims to Cox at
   ArbitrationOotOutracox com or via U.S, mail to Cox Communications
   Legal Department, Attn; Litigation Counsel, 6205-B Peachtree Dumwoody
   Road, Atlanta, G,A, 30326, You must also comply with the AAA's rules
   regarding initiation of arbitration. Cox will pay ail filing fees and costs for
   commencement of arbitration, but you will be responsible for your own
   attorneys' fees and costs unless otherwise detemiined by the arbitrator
   pursuant to the terms of this agreement or applicable law, Cox will not
   seek to recover its fees and costs from you in the arbitration, even if
   allowed under the law, unless your claim has been determined to be
   frivolous, if you are successful in the arbitration, Cox will pay your
   reasonable attorney's fees and costs, If you obtain an award from the
   arbitrator greater than Cox's last written settlement offer, Cox will pay you
   $5,000 in addition to what you have been awarded in the arbitration. The
   arbitration will be held in a mutually convenient iocation.
   7. Jury Trial Waiver If for any reason this arbitration agreement is found to
   be unenforceable, or if you opt cut of this dispute resolution agreement,
   you ana Cox expressly and 'xnowingly WAIVE THE RIGHT TO TRIAL BY
   JURY. Ttiis means that a Judge rather than a Jury will decide disputes
   between you and Cox if, for any reason, the arbitration agreement is not
   enforced,

   e. Survivai: This dispute resolution provision survives the termination of
   your contract with Cox, if you bring a claim against Cox after termination of
   your contract that is based in whole or in pari on events or omissions that
   occurred while you were a Cox customer, this dispute resolution provision
   shall apply.
   9. Order of Precedence, Notwithstanding anything lo contrary contained
   herein, if you are required to arbitrate any claim or dispute that arises out
   cf or relate in any way to any Services proinded to you by Cox or any of its
   affiliated entities under any other agreement with Cox prior to the effective
   date of this Agreement ("Prior Agreement'), the dispute resolution ter.ms
   contained in the Prior Agreement shall control with respect to those
   Services. Otherwise, the dispute resolution terms contained in this
   Agreement shall control,
   G, Notices of Cfsanges. Cox will provide you with written notice of any
   changes that we determine are material to this Agreement, including all
   notices required by applicable law or tariff. We may provide you with such
   written notice by sending it to your last known billing address, by including
   the notice in your bill statement, by sending you an elecironic
   communication to any email address, wireless or landline number, or such
   other destination or device you provided to Cox, or by any other lawful
   means All such changes will become effective as of the date specified on
   the written notice, Except as may clherwise be provided herein, the
   updated version of this Agreement will supersede any prior versions of the
   same agreements, Your continued use of the Service(s) after notice of
   any changes 'will constitute your acceptance of this Agreeme.nt as
   modified.

  H, Breach of Agreement: If you breach this Agreement, or any other
  agreement referenced herein, Co,x has tfie right to terminate this
  Agreement and retrieve its equipment. Cox's failure to require your strict
  peifotmanco of any term of this Agreement shall not be a waiver of Cox's
  right to require strict pe.rtormance of any term or condition herein.
  I, Entire Agreement; This Agreement, any applicable tariffs and other
  agreements specifically referenced herein constitute -he entire agreement




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   between Cox and You for the subjs^ mattw hsfeof. Only Gox may mafea
   modifications to this document. The invalidity or unenfdrceability of any
   term of this Agreement shall not affect the validity or enforceability of any
   other provision.
   Updated 10/07/2009 (revision number 21)
   IF YOU DO NOT ACCEPT THESE TERMS AND CONDITIONS DO NOT
   INSTALL AND/OR ACTIVATE THE COX SERVICE.
   Subject to cedit approval, Cox will provide all services that You, the
   Subscriber, request, on the following terms and conditions. All Cox
   services are referred to as "Service” or "Services"; If Cox provides
   telephone Service in Your area, such Service will be provided through the
   Cox telephone affiliate servicing Your area, and You will also bo bound by
   that affiliate's tariff on file with the State telephone regulatory authority
   and/or the tariffs or other terms of service located on Cox’s website at
   ww2.cox.r.nnVresidential/Dhcne.cox. If You receive Cox's High Speed
   Internet Service, You will also be bound by the Cox High Speed Internet
   Subscriber Agreement, and the Cox Acceptable Use Policy, both located
   at www.cox.com or at anottrer URL Cox may designate. The Services are
   also subject to the Annual Notice that You will receive each year, which
   contains, among other things, the Privacy Notice,
   Cox's Obligations:
    1, Install in a workmanlike manner, Ihe Cox necessary equipment and
       materials.

    2, Maintain Cox equipment in accordance with reasonable industry
       standanfs and applicable regulations.
    3, It available. You may subscribe to Ihe Cox wiring maintenance plan,
       and Cox will install and/or maintain wiring inside Your premises
       ("Internal Wiring"). Otherwise, Cox may have no responsibility for the
       maintenance of Your Internai Wiring.
    4, Cox has no obligation or responsibility for loss of stored content on
       any devices or for any damage to your devices.
   Your Obligations:
    1. Pay all installation, equipment, service or other charges by due date of
       Cox's bill. Charges are according to Cox’s rate schedule or tariff
       applicable at the time Services are rendered. Monthly service rates
       may be subject to additional federal, state and local foes, taxes,
       surcharges or other charges. Fees and charges are payable in
       advance once service is initiated. If You terminate Service before the
       end of a prepaid period, Cox will refund the prorated unused portion of
       the fees and charges. If the pro-rata unused portion is less than $5,00,
       Cox will make the refund on Your request. If You or Cox terminate
       Service without payment in full by the due date, Cox may transfer
       outstanding balances for Services provided under this Agreement to
       other accounts that You have with Cox.
    2. If You fail to ma.ke timely pay,merit, Cox may terminate Service,
       remove Cox equipment and impose late fees and collection trip fees, if
       applicable. Lata fees and collection trip fees will not exceed the
       maximum amount permitted by law,
    3. Provide Cox's employees and representatives v/ith a safe working
       environment.

    4. Assume complete responsibility tor improper use, damage or loss of
       any equipment furnished by Cox. You shall only use the equipment
       and Services in accordance with Ihe Cox terms and conditions and in
       a manner lhat complies with applicable laws and regulations. If You
       use the Services or equipment in a manner that violates the Cox terms
       and conditions or applicable laws and regulations, then Cox shall have
       the right to immediately restrict, suspend, or terminate your Services,
       without liability on the part of Cox.
    5. Allow Cox access into Your premises to install, maintain or repair,
       upgrade (if any), and remove Cox equipment, Cox personnel have
       Cox identification you may request and examine. If You are not home




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      ■ atlhe'iime                             aiiifi^e any pth«r'aSu^^.............
       resident or guest at Your residence to grant Cox access to Your
       premises,

    6. Any attempted assignment or transfer of the Services to any other
       tenant or occupant or to any other location without Cox’s prior written
       consent is prohibited and is a breach of this Agreement,
    7. If You do not own Your premises: (i) You represent that You have
       obtained necessary permission from the owner to install Cox's
       equipment (including, without limitation, equipment attached to the
       outside of the premises); and (ii) You will indemnify Cox from all
       claims of the owner in connection with the installation and provision of
       the Services,
    8. Cox may provide a modem with backup battery power for telephone
       service that requires a telephone cable modem to receive telephone
       service. That modem will remain the property of Cox and must be
       returned upon disconnection of Service. In the event of a power
       outage, your telephone Service will continue to operate for up to eight
       hours with the backup battery that Cox provides. If Cox does not
       provide a modem or backup battery power for Cox Services utilizing a
       telephone cable modem, you must provide it and it will remain your
       responsibility in all respects. If (i) the modem that supplies your
       telephone Service is disconnected or moved, (ii) the backup battery is
       not charged or otherv/ise becomes inoperable, or (iii) there is an
       extended power outage, telephone Service, including access to E911.
       will not be available. Cox uses your telephone Service address to
       identify your location for E911 Service, To ensure that E911 dispatch
       receives your correct address, the telephone modem should not be
       moved, even inside your home. You must notify Cox in advance if you
       would like to move or relocate your telephone Service.


  Equipment: Alt Cox Equipment and embedded Software (Equipment)
  provided to You by Cox or its agent will remain the property of Cox. Cox
  shall have the unrestricted right, but not the obligation, to install or modify
  the software in any of the Equipment. It is a material breach for You to
  copy, duplicate, reverse engineer or in any way tamper with or interfere
  with any Sofhvare provided to You by Cox. You also agree:
    1, To use the Equipment only for receiving Services ordered from or
       through Cox, You will only use any modem embedded in a digital
       video box for the receipt of Cox video Services,
   2. To promptly return the Equipment to Cox in good condition and
      without any encumbrances, except for ordinary wear and tear resulting
      from proper use, immediately upon discontinuance of Service.
  If You do not promptly return the Equipment or if it is damaged or
  encumbered, (' Unretumed Equipment’), the damages Cox will incur will be
  difficult to ascertain Therefore, You agree to pay, and Cox may charge
  Your account, a liquidated damages amount equal to Cox’s reasonable
  estimates of the replacement costs and incidental costs that Cox incurs;
  provided, however, ttiat such amount will not exceed the maximum amount
  permitted by law (the "Unreturned Equipment Charge'). This provision and
  any other provision that by its nature should survive shall survive ttte
  termination or expiration of this Agreement,
  Programming: You acknowledge that Cox reserves the right at any time
  and in its sole discretion to change its channel lineup and/or to pre-empt
  specific programs or parts of programs previously advertised as available,
  Cox also reserves the right to alter its fee structure upon notice to You,
  You may immediately terminate service upon notice to Cox. You may not
  rebroaccast, transmit, record, perform, or charge admission to viewer
  listen to any of the programming made available by the Senrices unless
  you obtain and pay for any public performa.nce licenses.
  LIMITATION OF WARRANTIES AND LIABILITY: COX, ITS PARENT,
  AFFILIATES, EMPLOYEES, (COLLECTIVELY AND INDIVIDUALLY, THE
  "COX GROUP") MAKE NO WARRANTIES, EXPRESSED OR IMPLIED,




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   INCLUDING, WITHOUT LIMITATION, ANY WARRANTY OF
   MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE, AS TO
   THE EQUIPMENT FURNISHED TO YOU AND/OR SERVICES PROVIDED.
   SOME STATES DO NOT ALLOW THE EXCLUSION OR LIMITATION OF
   IMPLIED WARRANTIES, SO THESE PROVISIONS MAY NOT APPLY TO
   YOU. THE COX GROUP SHALL NOT BE LIABLE FOR DAMAGES FOR
   FAILURE TO FURNISH, OR THE DEGRADATION OR INTERRUPTION OF
   ANY SERVICES, FOR ANY LOST DATA OR CONTENT, IDENTITY THEFT,
   FOR ANY FILES OR SOFTWARE DAMAGE, REGARDLESS OF CAUSE. THE
   COX GROUP SHALL NOT BE LIABLE FOR DAMAGE TO PROPERTY OR
   FOR INJURY TO ANY PERSON ARISING FROM THE INSTALLATION,
   MAINTENANCE OR REMOVAL OF EQUIPMENT, SOFTWARE, WIRING
   OR THE PROVISION OF SERVICES. NOR SHALL COX BE LIABLE FOR
   FAILURE TO PROVIDE SERVICE IF THE CAUSE IS DUE TO THE ACTS OF
   A THIRD PARTY. YOU HEREBY INDEMNIFY AND HOLD HARMLESS THE
   COX GROUP FROM ANY CLAIMS, ACTIONS, PROCEEDINGS, DAMAGES
   AND LIABILITIES, INCLUDING ATTORNEYS' FEES, ARISING OUT OF (I)
   SUCH DAMAGE OR INJURY RESULTING FROM ANY CLAIM THAT YOUR
   USE OF THE SERVICE INFRINGES ON THE PATENT, COPYRIGHT,
   TRADEMARK OR OTHER INTELLECTUAL PROPERTY RIGHT OF ANY
   THIRD PARTY, (II) ANY BREACH OR ALLEGED BREACH BY YOU OF THIS
   AGREEMENT; OR INJURY TO PERSON OR PROPERTY RESULTING FROM
   YOUR NEGLIGENCE. UNDER NO CIRCUMSTANCES WILL THE COX
   GROUP BE LIABLE FOR ANY INCIDENTAL, INDIRECT, PUNITIVE,
   SPECIAL OR CONSEQUENTIAL DAMAGES. THE COX GROUP’S
   MAXIMUM TOTAL LIABILITY TO YOU ARISING UNDER THIS
   AGREEMENT SHALL BE LIMITED TO THE AMOUNT ACTUALLY PAID BY
   YOU IN THE TWELVE MONTHS PRECEDING YOUR CLAIM.
   Breach of/tgreement: If You breach this Agreement, or any other
   agreement referenced herein, Cox has the right to terminate this
   Agreement and retrieve its equipment. Cox’s failure to require Your strict
   performance of any term of this Agreement shall not be a waiver of Cox’s
   right to requite strict petformanoe of any term or condition herein.
   Entire Agreement: This Agreement, any applicable tariffs and other
   agreements specifically referenced herein constitute the entire agreement
   between Cox and You for the subject matter hereof Only Cox may make
   modifications to this document. The invalidity or unenforceabilily of any
   term of this Agreement shall not affect the validity or enforceability of any
   other provision,
   CREDIT REPORT NOTICE
   IF YOU WERE SUBJECT TO A CREDIT CHECK AND REQUIRED TO
   PAY A DEPOSIT PLEASE READ:
   When you requested services from Cox Communications, you agreed to
   our obtaining a credit report from a consumer reporting agency, A credit
   report is a record of your credit history, It includes information about
   whether you pay your bills on time and how much you owe to creditors.
  Based on the information we received from the credit reporting agency,
  and our assessment of the risk associated with that information, Cox
  Communications may require a deposit before providing services to you.
  The terms offered to you may be less favorable than the terms offered to
  consumers who have better credit histories.
  You have a right to dispute any inaccurate information in your credit report,
  and we encourage you to do so. If you find mistakes on your credit report,
  contact Equifax which is the consumer reporting agency from which we
  obtained your credit report. Please note that Equifax did not make this
  decision and cannot explain to you why the decision was made. However,
  under Federal law, you have the right to obtain a copy of your credit report
  without charge for 60 days after you receive this notice. To obtain your free
  report, contact Equifax:
  By telephone: (888) 932-2324
  By mall;
  Equifax




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  Atlanta, GA 30371-0241

  On the web; wvw.souifax.com
  For more info,'nnation about credit reports and your rights under Federal
  law, visit the Consumer Financial Protection Bureau's website at
  wv/w.consumerfinanee.oov/learnmcre




  EASYPAY ENROLLMENT TERMS OF SERVICE
  Once you have enrolled in EasyPay, Cox is required to send you a written
  copy of your EasyPay authorization. By accepting EasyPay terms and
  conditions, you agree that Cox may send your EasyPay authorization and
  any notices required for any payment, to you electronically to your
  designated email address. Your consent to parlicipate in EasyPay and
  receive the EasyPay authorization in electronic form (and not paper form)
  will apply for as long as you are enrolled in EasyPay unless such consent
  is revoked by you. Cox. or your financial institution. NOTE; please ensure
  the na.me you entered on the EasyPay form is the same as the name on
  your designated financial institution/credit card account.
  It may take up to two billing cycles for your bank or credit card to begin
  automatic payments. When EasyPay is activated, you will see an EasyPay
  enrollment confirmation on your Cox bill. Until you sea that confirmation,
  please continue to pay your bill as usual.




  PAPERLESS BILLING ENROLLMENT TERMS OF SERVICE
  If you elect to receive your Cox bills electronically, you agree that you will
  receive subsequent Cox bills solely in electronic format and you will not
  receive a paper bill. You will receive a confirmation when your Electronic
  Bill request Is processed. Once Electronic Billing is activated, you will
  receive a monthly email reminder that your Electronic Bill is ready for
  viewing. Regardless of whether you receive a confirmation or whether you
  receive email notification that your Electronic Bill is ready for viewing, you
  are still responsible for timely paying your Bill You are responsible for
  ensuring that your email address used for Electronic Bill notification is
  current at all limes. You have the right, at no charge, to return to a paper
  bill by visiting Coj(„cojti and changing your preference to "Receive Paper
  Bill" or by contacting Cox c.ustgmers.uj3po.rt. Please allow one bill cycle
  for Bill delivery preferences to be updated. You may print a copy of your
  Electronic Bill using your computer's fanovrser or save a copy of the
  Electronic Bill to your liard drive.




  6911 Notification
  The Federal Communications Commission has asked phone service
  providers to share these important facts about E911;
  Enhanced 911 allows emergency personnel to locate you in the event of
  an emergency. They will not be able to locale you if you move your
  modem to a new location. Please contact Cox if you need to relocate your
  telephone modem. It can take up to 3 business days for your new address
  to be updated, - The teiephone modem does not include a backup battery
  bu! can suppor, one if you wish to have home telepho.ne service during a
  power outage for access to Enhanced 911 and other calling. Please
  contact Cox at 855-324-7700 or visit a Cox store to obtain a compatible
  battery. If you purchase a battery, or receive a battery as an eligible
  Lifeline customer, you are responsible for installing, monitoring batt-ary
  health and contacting Cox when it needs to be replaced, - Telephone




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  service. incliKJina access to esn service will twi be availabSe during a
         outage if the toephone modem does hoi have a battery or if the
  modem is moved or irsopsrable.




  Price Lock Guarantee Agreement
  View the foliowing policies regarding the Cox Price Lock Guarantee and
  Monthly Discounts,
  Current Policies;
     ■ 24-Month Price Lock Guarantee - Arizona. California, Nebraska and
       Nevada

     • 24-Month Price Lock Guarantee - All other locations
  Retired Policies:
     ■ 24-Momh Price Lock Guarantee - Arizona, California, Nebraska and
       Nevada (Retired 3/31/2015)
      ^^^££^j^!LSiia.aalgs
     • 24-Momh Price Lock Guarantee - Arizona (Retired 9/30/2014)
     • 24-Month Price Lock Guarantee - All other tocations f Retired
       9/30/2014)

     • 24-Month Price Lock Guarantee - All locations /Retired 3/17/141
     • 24-Monlh Price Lock Guarantee-AH locations (Retired 5/20/13)
     ■ 24-Monlh Price Lock Guarantee — Arizona (Retired 4/8/13)




  Procedure for Making Claim of Copyright
  Infringement
  Updated 2006
  Pursuant to the Digital Millennium Copyright Act (the "DMCA"), you may
  file a Notification of claimed infringement with the Designated Agent of a
  Service Provider if you believe that a Web page hosted by the Service
  Provider Is violating your rights under U.S, copyright law, (See Title 17,
  United States Code, Section 512(c)(3)). The DMCA provides the following
  procedure for parties to follow who wish to file a Notification of claimed
  infringement with a Service Provider,

  To serve a Notification on Cox* Business; Cox* High Speed Internet’”;
  and/or Cox Interactive Media™, send your Notification to:
  Name of Designated Agent to Receive Notification: DMCA Agent

  Address to Which Notification Should be Sent: 1400 Lake Hearn Drive,
  N(t, Atlanta, Georgia 30319

  Telephone Number of Designated Agent: (404) 269-6830
  Facsimile Number of Designated Agent; (404) 269-8432



  Notification:
  In order to be effective under the DMCA, the Notification must (i) be in
  writing, and (ii) provided to the Designated Agent of a Service Provider;
  In order for such a complaint to be effective under the DMCA. Notification
  must include the following:
   1. A pfiysical or electr onic signature of a person authorized to act on
      behalf of the owner of an exclusive right that is allegedly infringed.




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    2, Ideniiflcation of the copyrighted worl< clairr'^ed to have bean infringed,
       or, if multiple copyrighted works at a single online site are covered by
       a single K’ctifcation, a representative list of such works at that site,
    3, Identification of the material that is claimed to be infririgjng or to he the
       subject of infringing activity and that is to be removed or access to
       which is to be disabled, and information reasonably sufficient to permit
       the Service Provider to locate the material,
   4, information reasonably sufficient to permit the Service Provider to
      contact the complaining party, such as an address, telephone number,
      and if available, an electronic mail address at which the complaining
      party may be contacted.
    5, A statement that the complaining parly has a good faith belief that use
       of the material in the manner complained of is not authorized by the
       copyright ov/ner, its agent, or the law.
   6, A statement that the information in the Notification is accurate, and
      under penalty of perjury, that the complaining party is authorized to act
      on behalf of the owner of an exclusive right that is allegedly infringed.
  Upon receipt of the written Notilication containing the information
  described in 1 through 6 above, Service Provider wilt:
    1. Remove or disable access to the material that is alleged to ba
       Infringing,

    2. Take reasonable steps to promptly notify the subscriber that it has
       removed or disabled access to the material.
  Counter Notification;
  If a notice of copyright infringement has been filed against you, you may
  file a Counter Notification with a Service Provider's Designated Agent. In
  order to be effective, a Counter Notification must be written and include
  substantiaity the follcwing:
    1, A physical or electronic signature of the subscriber;
   2, identification of the material that has been removed or to which
      access has been disabled and the location at which the materia!
      appeared before it was removed or access to it was disabled.
   3, A statement under penalty of perjury tfiat the subscriber has a good
      faith belief that the material was removed or disabled as a result of
      mistake or misidentification of the material to be removed or disabled.
   4, The subscriber's name, address, and telephone number, and a
      statement that the subscriber consents to the jurisdiction of Federal
      District Court for the judicial district in which the address is located, or
      if the subscriber's address is outside of the United Slates, for any
      judicial district in which the Service Provider may be found, and that
      the subscriber will accept se-nrice of process from the person who
      provided Notification or an agent of such person.
  Upon receipt of a Counter Notification containing the information as
  outlined in t through 4 above. Service Provider shall:
    1. Promptly provide the complaining parly with a copy of the Counter
       Notification.

   2. Replace the removed material or cease disabling access to the
      material within 10 to 14 business days following receipt of the Counter
      Notification, unless the Service Provider's Designated Agent first
      receives notice from the complaining party that an action has been
      filed seeking a court order to restrain alleged infririging party Irom
      engaging in infringing activity relating to the material on Service
      Provider's system or nefiwork,
  NOTE: Under the DMCA, claimants v,rho make misrepresentations
  concerning copyright infringement may be liable for damages incurred as a
  result of the removal or blocking of the material, court costs, and attorneys
  fees. See Title 17. United States Code, Section 512(d),
  NOTE: Ttie inforrriation orr this page is provided to you for informational
  purposes only, and is not intended as legal advice. If you believe your




 hfip://www.cox.coi'n/'aboutus/policies.cox                                            7/9/2015
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   attorney,




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    Contract:            SdnpSftc                                                  privacyiCtBicniefi




 http://www.cox.com/aboLitiis/policies.cox                                                              7/9/2015
